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                   ELIZABETH SINES,ET A L.,                                                                                                                        C aseN o.3:17-cv-00072-NK M

                   Plaintiffs,                                                                                                                                     H on.Norm an K .M oon                                                            '
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                   JASON K ESSLER ,ET AL.,

                    Dbfmidants.                                                                                                                                                                                      .

                                                         DEFENDAN T M ICH AEL PEINO VICH 'S M OTION FOR PERM ISSIO N
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                   developm ent. This isa com plex case,with m any parties.As a pro se defendantconfronting a

                   dozen attorneys forthe plaintiffs,allofw hom have electronic filing perm ission,Peinovich w ill

                   be ata greatdisadvantage ifhe too isnotallowed electronic filing. W ithouteleotronic Gling,
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